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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division


  BONUMOSE BIOCHEM LLC, a Virginia
  limited liability company, and BONUMOSE
  LLC, a Virginia limited liability company          SECOND AMENDED COMPLAINT

         Plaintiff,
                                                     Civil Action No. 3:17-cv-00033
  vs.
                                                     Judge Norman K. Moon
  YI-HENG PERCIVAL ZHANG, individually,
  and CELL-FREE BIOINNOVATIONS, INC.,
  a Virginia corporation,


         Defendants.


  CELL-FREE BIOINNOVATIONS, INC., a
  Virginia corporation, and DR. YI-HENG
  PERCIVAL ZHANG, an individual,

        Counterclaimants,

  vs.

  BONUMOSE BIOCHEM LLC, a Virginia
  limited liability company, EDWIN O.
  ROGERS, an individual and TEREBINTH
  STRATEGIC MANAGEMENT, LLC,

        Counterclaim Defendants.



         Plaintiffs Bonumose Biochem LLC (“Bonumose Biochem”), a Virginia limited liability

  company, and Bonumose LLC (“Bonumose”) (collectively the “Bonumose Entities”) assert the

  following against defendants Dr. Yi-Heng Percival Zhang (“Zhang”) and Cell-Free

  Bioinnovations, Inc. (“CFB (collectively “Defendants”).




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                                      NATURE OF ACTION

         1.      The Bonumose Entities own contract rights and valuable confidential and trade

  secret information relating to the enzymatic production of D-tagatose, a naturally occurring

  monosaccharide (“Tagatose”), from low-cost feedstocks such as starch. The Bonumose Entities

  obtained some of those rights through a transaction in April of 2016 with Zhang and CFB. After

  the April 2016 transaction, Defendants Zhang and CFB breached their contractual obligations to

  the Bonumose Entities by providing the confidential information and trade secret information

  acquired by the Bonumose Entities to the Tianjin Institute of Industrial Biotechnology, Chinese

  Academy of Sciences, a state operated research arm of the People’s Republic of China (“Tianjin

  Institute”) and by failing to take other contractually required actions. The Tianjin Institute used

  the confidential information provided by Zhang and CFB to file a copycat patent in China based

  on the Bonumose Entities’ confidential intellectual property, causing the Bonumose Entities to

  incur significant costs and damages.

         2.      Even if Defendants Zhang and CFB assert they disclosed the information to

  Tianjin Institute prior to April 2016 transaction, Zhang and CFB would remain liable for having

  breached contractual warranties, contractual obligations to not assist the Bonumose Entities

  competitors, and concealed material facts.

         3.      Further, Defendants concealed or misrepresented material facts, including but not

  limited to, the following: (1) Zhang had been operating as paid agent of the Tianjin Institute

  since at least 2014, (2) Zhang (as the controlling member of CFB) never intended to allow CFB

  to fulfill the contractual obligations owed to the Bonumose Entities, and (3) Zhang and CFB had

  been engaged since at least 2014 in activities with the Tianjin Institute to take intellectual

  property developed in the United States and exploit that intellectual property for profit in the

  Peoples Republic of China (“PRC”).




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         4.      Seeking damages, the Bonumose Entities bring claims for breach of contract,

  misappropriation of trade secrets under state and federal law, conversion, and fraud.

                                             PARTIES

         5.      Plaintiff Bonumose Biochem, a Virginia limited liability company with its

  headquarters in Charlottesville, Virginia, obtained contractual rights from CFB and Zhang

  (collectively “AASA Rights”), including confidential information and trade secrets relating to

  proprietary processes for the enzymatic production of Tagatose (generally “Tagatose Trade

  Secrets”). The Tagatose Trade Secrets and other AASA rights are of significant economic value.

         6.      Plaintiff Bonumose, is a Virginia limited liability company with its headquarters

  in Charlottesville, Virginia. Plaintiff Bonumose was formed by Bonumose Biochem in October

  2017 to facilitate an investment by third-parties. Plaintiff Bonumose Biochem has transferred

  certain rights under the AASA relevant to this litigation to Plaintiff Bonumose.

         7.      Defendant Zhang is a United States citizen residing in Virginia who acted as an

  unregistered agent for Tianjin Institute – an arm of the Chinese government – since at least 2014.

         8.      Defendant CFB is a Virginia corporation formed by Zhang and others in 2012 for

  the purpose of developing in vitro synthetic biology.    CFB’s principal office is in Blacksburg,

  Virginia. Zhang controls CFB as the majority shareholder, Chairman of the Board, Chief

  Science Officer (“CSO”), President, and CEO.

         9.      Subsequent to CFB’s transaction with Bonumose Biochem, CFB has been

  operated as the alter ego of Zhang. Defendant Zhang has operated CFB in a manner in which his

  personal interests supersede CFB’s corporate interests. CFB has been operated in a manner

  which is not separate from Zhang’s personal interests, but is contrary to the interests of other

  CFB shareholders. Zhang has directed CFB to take wrongful or fraudulent actions.




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                                  JURISDICTION AND VENUE

          10.    This is an action under Section 1836, Title 18 of the United States

  Code. Accordingly, the Court has jurisdiction under 28 U.S.C. §§ 1331, 1367, and 2201-2202.

          11.    This Court has personal jurisdiction over Defendant Zhang because he transacts,

  or has in the recent past transacted, business in the Western District of Virginia, has committed

  wrongful acts within this district, and has caused the Bonumose Entities injury within this

  district.

          12.    This Court has personal jurisdiction over Defendant CFB because it transacts, or

  has in the recent past transacted, business in the Western District of Virginia, has committed

  wrongful acts within this district, and has caused Bonumose Entities injury within this district.

          13.    Venue is proper in the Western District of Virginia under 28 U.S.C. §§ 1391(b)

  and/or (c).

                                GENERAL ALLEGATIONS
                            BENEFITS AND VALUE OF TAGATOSE
          14.    Tagatose is a naturally occurring sugar found in low concentrations in some

  grains, fruits, dairy, and the cacao tree. Although having nearly the same sweetness as sucrose

  (table sugar), Tagatose (a) is lower in calories, (b) does not create health issues often linked to

  excess sucrose consumption such as diabetes, obesity, or tooth decay, and (c) has multiple other

  health benefits absent from sucrose.

          15.    Traditionally, Tagatose has not been used widely owing to the high costs of

  commercial production.

          16.    Owing to the widespread health problems linked to the overconsumption of

  sucrose and related sweeteners, as well as drawbacks of many sugar alternatives, there is a

  tremendous demand for the commercialization of natural alternatives to sucrose. If the costs of

  producing Tagatose can be reduced, there is a multi-billion-dollar annual global market for the




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  product. The Bonumose Entities estimate the annual market for low-cost Tagatose in the PRC

  alone is more than $250,000,000.

                        CHINESE EFFORTS TO OBTAIN INTELLECTUAL
                             PROPERTY FROM UNITED STATES
         17.        This lawsuit occurs against the backdrop of increasing warnings from intelligence

  agencies of the United States regarding systematic efforts underway to take intellectual property

  developed    in     the   United   State   to   the    PRC   for   commercialization.   See,   e.g.,

  https://www.reuters.com/article/us-usa-security-china/u-s-senators-concerned-about-chinese-

  access-to-intellectual-property-idUSKCN1FX23M (FBI Director warns Senate Intelligence

  Committee regarding efforts by PRC to infiltrate American universities).

               ZHANG’S COLLABORATION WITH THE TIANJIN INSTITUTE

         18.        While working as a professor at Virginia Tech from 2014 until his separation in

  2017, Zhang recruited, mentored, and collaborated with a group of doctoral students and post-

  doctoral students from the PRC who worked concurrently for Virginia Tech and CFB and are

  now working at or are currently connected to the Tianjin Institute (“CFB/Tianjin Group”).

  Zhang directed the actions of the CFB/Tianjin Group while they worked at Virginia Tech and at

  CFB. After the CFB/Tianjin Group returned to the PRC, Zhang continued to provide them with

  information and collaborated with them to take intellectual property developed in the United

  States and commercialize that intellectual property in the PRC.

         19.        As set forth below, Zhang’s direction and actions with the CFB/Tianjin Group

  establish, among other things, that (1) Zhang and CFB engaged in wrongful activity that was

  concealed from Bonumose Biochem, and (2) that Zhang and CFB wrongly disclosed the

  Tagatose Trade Secrets to the Tianjin Institute.

         20.        Zhiguang Zhu (“Zhu”) is a member of Zhang’s CFB/Tianjin Group. Zhu, a

  Chinese National, worked for Zhang at Virginia Tech, worked under the direction of Zhang at

  CFB, and currently works for the Tianjin Institute. While working under the direction of Zhang



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  at CFB, Zhu concealed that he was concurrently acting with Zhang to further the Tianjin

  Institute’s interests in violation of their duties to CFB.

          21.     Chun You, is also a member of Zhang’s CFB/Tianjin Group. Zhang recruited

  Chun You to do post-doctoral work at Virginia Tech. Later, Zhang recruited Chun You to work

  at CFB. Then, Zhang helped Chun You secure employment with the Tianjin Institute. While

  working under the direction of Zhang at CFB, Chun You concealed that he was concurrently

  acting with Zhang to further the Tianjin Institute’s interests in violation of their duties to CFB.

          22.     Since 2012, Zhang has been an employee for CFB.

          23.     On or about, May 8, 2013, Zhang signed a Business Protection Agreement with

  CFB (“Zhang Business Protection Agreement”).

          24.     The terms of the Zhang Business Protection Agreement are binding on Zhang.

          25.     The Zhang Business Protection Agreement obligated and continues to obligate

  Zhang to keep CFB’s propriety information and trade secrets confidential and broadly assigned

  inventions and intellectual property developed by Zhang to CFB.               The Zhang Business

  Protection Agreement also required Zhang to disclose and get approval for any conflicts of

  interest or competitive work.

          26.     In 2013, Zhang brought members of the CFB/Tianjin Group on as employees of

  CFB.

          27.     In April of 2013, Zhang brought on Chun You as a scientist at CFB. As employee

  of CFB, Chun You owed duties of loyalty to keep proprietary information and trade secrets

  confidential. Having worked at CFB, Chun You is obligated to terms and restrictions of a

  Business Protection Agreement, including a continuing obligation propriety information and

  trade secrets, including the Tagatose Trade Secrets, confidential.         The Business Protection

  Agreement also required Chun You to disclose and get approval for any conflicts of interest or

  competitive work. Furthermore, in federal grant applications in which Chun You was the




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  principal investigator, Chun You and CFB affirmatively represented their obligations of “IP

  protection.”

         28.     In July of 2013, Zhang hired Zhu as Chief Technology Officer at Cell-Free. Zhu

  is subject to the same common low duty of loyalty and obligations regarding confidentiality

  under the standard Business Protection Agreement, including keeping the Tagatose Trade Secrets

  Confidential. In March of 2014, the Tianjin Institute retained Zhang as a research fellow. Zhang

  did not disclose his relationship and competing obligations to Virginia Tech.

         29.     On or around August 26, 2014, the Tianjin Institute met and approved a direct

  employment agreement with Zhang. At all times relevant to this lawsuit, Zhang was subject to

  this employment agreement with the Tianjin Institute.

         30.     Zhang’s agreement with the Tianjin Institute dated October 1, 2014, requires

  Zhang to be responsible for the following:

                    “1. Responsible for the discipline direction, core technology research and

                     development and the development of research rules for the research institute’s

                     in vitro synthetic biology;

                    2. Responsible for team construction and application and implementation of

                     major scientific research projects for the organization’s in vitro synthetic

                     biology area;

                    3.   Responsible     for   patent   applications   and   technology    industry

                     transformations for the research institute’s in vitro synthetic biology results,

                     and achieve transformation and transfer of 2-3 science and technology

                     achievements in 3-4 years;

                    4. Responsible for cultivation of young talents in related disciplines and

                     technical fields.”




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          31.     The Tagatose Trade Secrets at issue in this litigation fall within the category of in

  vitro synthetic biology.

          32.     Zhang did not disclose to Virginia Tech or to – supposedly his primary employer

  in this time period – his relationship and obligations to Tianjin Institute.

          33.     In October 28, 2014, while he was subject to undisclosed, conflicting duties to the

  Tianjin Institute, Zhang recruited Ed Rogers to work as CEO for CFB. As part of Zhang’s

  recruiting pitch to Rogers, Zhang represented to Rogers that CFB owned intellectual property

  relating to several products including sugar battery and “healthy sweeteners (D-tagatose),

  nutrient (inositol), etc.”

          34.     Zhang and CFB concealed Zhang’s, Zhu’s, and Chun You’s conflicting

  obligations to the Tianjin Institute from Rogers.

          35.     On January 1, 2015, Rogers began to perform services for CFB as a part-time,

  interim CEO.

          36.     In January 29, 2015, the Tianjin Institute provided directives to its employees

  Zhang and Chun You to obtain advancements regarding cellulose-to starch, rare sugars,

  functional sugars, and inositol. Zhang and Chun You concealed this conflict of interest from

  Rogers. Zhang and CFB concealed this fact from Rogers and Bonumose Biochem.

          37.     In February of 2015, the Tianjin Institute named Chun You to its Thousand

  Talents Program. Zhang and CFB concealed this information from Rogers and Bonumose

  Biochem.

      ZHANG PROMOTES CHUN YOU OBLIGATING CHUN YOU AGAIN TO THE
              TERMS OF A BUSINESS PROTECTION AGREEMENT
          38.     At or around the time Chun You was being elevated to the PRC’s Thousand

  Talents Program and was getting directions from the Tianjin Institute to deliver intellectual

  property relating to the manufacture of inositol, Zhang directed CFB to give Chun You a

  promotion, raise, and $11,000 bonus. In a letter dated February 6, 2015, to Chun You (“2015



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  Chun You Employment Agreement”), Zhang, on behalf of CFB, elevated Chun You to the role

  of Principal Scientist and stated that Chun You would report directly to Zhang and Zhu.

         39.    Zhang signed the 2015 Chun You Employment Agreement on behalf or CFB.

         40.    In the 2015 Chun You Employment Agreement, Zhang wrote Chun You’s new

  position, salary and bonus were “subject to your agreement to the terms and conditions contained

  in this letter agreement and your execution of the Company’s standard confidentiality and non-

  competition agreement, (the “Business Protection Agreement”).”

         41.    The 2015 Chun You Employment Agreement with CFB expressly states that

  Chun You “will hold in a fiduciary capacity for the benefit of the Company all . . . proprietary

  and confidential information acquired by [him].”

         42.    The 2015 Chun You Employment Agreement also prevented Chun You from

  engaging in business or private services to any business, other than CFB, without CFB’s written

  consent.

         43.    The 2015 Chun You Employment Agreement also required that Chun You

  warrant that he was not subject to any other agreements that would interfere with his obligations

  to CFB.

         44.    The 2015 Chun You Employment Agreement also required,

                Upon the termination of your employment with the Company and
                prior to your departure from the Company, you agree to submit to
                an exit interview for the purposes of reviewing this letter
                agreement, the enclosed Business Protection Agreement and the
                trade secrets of the Company, and surrendering to the Company all
                proprietary or confidential information and articles belonging to
                the Company.
         45.    Zhang was responsible for getting Chun You to sign the documents.

         46.    On information and belief, Chun You countersigned the 2015 Chun You

  Employment Agreement signed by Zhang and executed the attached Business Protection

  Agreement and provided these documents to Zhang.




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          47.     In the alternative, if Zhang failed (purposefully or not) to obtain a signed copy of

   the 2015 Chun You Employment Agreement and/or Business Protection Agreement, Chun You

   bound himself to the terms or estopped himself from denying the terms of the Chun You

   Employment Agreement and Business Protection Agreement by accepting the promotion, pay

   raise, and $11,000 bonus.

          48.     In late February of 2015, Zhang and CFB directed CFB employees to prepare

   certain confidential materials for transport in early March of 2015.

          49.     Zhang took the confidential materials to the Tianjin Institute in early March of

   2015. On information and belief, the materials provided to the Tianjin Institute were relevant to

   the development of the Inositol intellectual property that Zhang was bound to keep confidential.

   Zhang concealed the fact of this transport from Rogers and from Bonumose Biochem.

          50.     At or around the time the confidential materials were transported by Zhang to the

   PRC, Zhang directed CFB to pay a $11,000 bonus to Chun You using federal grant funds even

   though Zhang intended to use Chun You’s services to further Zhang’s plan to commercialize the

   inositol intellectual property in China, in collaboration with Tianjin Institute.

          51.     When Zhang chose to promote, provide a salary increase, and bonus to Chun You

   on behalf of CFB, Zhang knew that Chun You (1) was a member of the Tianjin Institute’s

   Thousand Talents Program, (2) had been directed to acquire or develop intellectual property,

   including intellectual property relating to the conversion on inositol, and (3) owed obligations to

   the Tianjin Institute incompatible with and in violation of his obligations and warranties under

   his 2015 Employment Agreement and Business Protection Agreement with CFB. Zhang and

   CFB concealed these facts from Rogers and from Bonumose Biochem.

          52.     When Zhang gave Chun You a promotion, a salary increase, and a bonus, Zhang

   did so to obtain Chun You’s assistance in fulfilling Zhang’s efforts to develop and transfer

   intellectual property from work done at Virginia Tech or at CFB to the Tianjin Institute or other




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   agencies of the PRC to satisfy Zhang’s obligations to those entities and to benefit Zhang

   financially.

          53.     Zhang did not disclose to Rogers his improper purposes relating the employment

   and compensation of Chun You

          54.     On or about June 15, 2015, Zhang and CFB continued to express satisfaction with

   Rogers’ performance as interim CEO for CFB.          At Zhang and CFB’s request, Rogers’

   compensation and time commitment to CFB was increased.

                            WICHELECKI TAGATOSE INVENTION

          55.     On or about July 1, 2015, CFB hired Dr. Daniel Wichelecki as a Senior Scientist.

   Shortly after being hired, Dr. Wichelecki invented certain processes relating to the enzymatic

   production of Tagatose that were materially different than the processes CFB previously had

   considered (“Tagatose Invention”).      Critical to the Tagatose Invention, Dr. Wichelecki

   discovered a new way to convert fructose 6-phosphate to tagatose 6-phosphate, and tagatose 6-

   phosphate to tagatose. Using two unique enzymes, Dr. Wichelecki created a complete enzymatic

   pathway for the production of high-yields of tagatose from low-cost feedstocks such as starch.

   Dr. Wichelecki’s Tagatose Invention is a central component of the Tagatose Trade Secrets.

          56.     Zhang repeatedly expressed his belief that Wichelecki’s Tagatose Invention was a

   new discovery with significant economic value.

          57.     At or around September 1, 2015, Zhang and CFB continued to express

   satisfaction with Rogers’ performance as interim CEO. At the request of Zhang and CFB,

   Rogers agreed to increase his time commitment and serve as a full-time CEO of CFB.

          58.     On October 2, 2015, based on Dr. Wichelecki’s Tagatose Invention, CFB filed a

   U.S. provisional patent application for “Enzymatic Synthesis of D-Tagatose” (“Provisional

   Patent Application”). Dr. Wichelecki was the lead inventor, and Zhang was named as a co-




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   inventor. Dr. Wichelecki’s and Zhang’s respective shares of the invention were owned by CFB

   under their respective employment contracts with CFB.

          59.     The Provisional Patent Application was not published. CFB (and, subsequently,

   the Bonumose Entities) kept as confidential and maintained as trade secrets the information

   within the Provisional Patent Application that constituted Tagatose Trade Secrets.

          60.     The Tagatose Trade Secrets included, but were not limited to:

                   A.    the identity of the two key enzymes making the enzymatic pathway viable;

                   B.    the novel enzymatic pathway for producing Tagatose from starch and the

    method of using the key enzymes in the pathway;

                   C.    the methods Dr. Wichelecki used to verify and optimize the novel

    enzymatic pathway; and

                   D.    the information about two obscure academic papers which contained hard-

    to-follow clues about the identity of the key enzymes.

          61.     The Tagatose Trade Secrets were protected by both CFB and the Bonumose

   Entities. CFB and the Bonumose Entities protected the Tagatose Trade Secrets in several ways,

   including, but not limited to, these steps: (a) limiting employee access to sensitive information,

   (b) requiring non-disclosure agreements (“NDAs”) with employees and third-parties, and (c) the

   use of passwords and other protections to prevent access by third-parties.

          62.     In early December of 2015, Zhang and Chun You along with some CFB/Tianjin

   Members were developing business plans to transfer or share the Tagatose Trade Secrets with the

   Tianjin Institute and work to commercialize the Tagatose Trade Secrets in the PRC. Zhang and

   CFB concealed this information from Rogers and Bonumose Biochem.

          63.     On or about March 11, 2016, Chun You resigned as Principal Scientist for CFB.

   When Chun You resigned, Zhang was the President, CSO, and CEO of CFB and Chun You’s

   supervisor.




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          64.       Based on the 2015 Chun You Employment Agreement, Zhang or CFB was to

   meet with Chun You to reiterate his obligations under his employment and Business Protection

   Agreement. To the extent Zhang or CFB had previously failed to get Chun You’s signature on

   the 2015 Employment Agreement and Business Practices Agreement, Zhang and CFB were

   obligated get Chun You’s signature

          65.       In or around November of 2015, Rogers began to have concerns that Zhang was

   diverting intellectual property previously represented by Zhang to be owned by CFB to the PRC

   for commercialization. Rogers raised the concerns with Zhang and explained that Zhang was

   directing the filing of grants on behalf of CFB which represented to federal agencies that CFB

   owned intellectual property that Zhang now was asserting was owned exclusively by him.

          66.       Prior to Rogers raising questions regarding Zhang’s ownership of intellectual

   property previously represented to be owned by CFB, Zhang had never been critical of Rogers’

   job performance.

          67.       After Rogers raised the ownership questions, Zhang actively sought to remove

   Rogers from CFB. Zhang had Rogers removed as CEO of CFB in December of 2015.

          68.       After months of negotiations, between Rogers and Zhang, who controlled CFB,

   they reached an agreement (April 2016 Agreement) relating to the transfer of rights held by CFB

   and Zhang to Bonumose Biochem, a company founded by Rogers and Dr. Wichelecki to pursue,

   among other things, the commercialization of the Tagatose Trade Secrets.

          69.       Under the April 2016 Agreement, Bonumose Biochem acquired certain

   intellectual property rights, including the Tagatose Trade Secrets and confidential information

   relating to the Tagatose Invention, from Zhang and CFB.

          70.       Under the April 2016 Agreement, Zhang and CFB agreed, among other things to

   the following:




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                  A.      “[N]ot to compete against BONUMOSE, or its successors, assigns or

   licensees, with respect to the ASSIGNED ASSETS.              For purpose of clarification but not

   limitation, CFB and Zhang agree not to compete against BONUMOSE, or its successors, assigns

   or licensees, in the production of Tagatose or Sugar Phosphates (including FBP) from starch,

   sucrose, cellulose, or degradation products thereof, or to assist or cooperate with competition

   against BONUMOSE by third-parties.”

                  B.      “[N]ot to disclose to anyone any confidential information, trade secrets, or

   other IP RIGHTS about the ASSIGNED ASSETS, including any disclosures in an academic

   setting or any disclosures in scientific or other journals or other publications.”

                  C.      To “immediately cease communications with third parties about the

   ASSIGNED ASSETS, and [to] refer all inquiries to BONUMOSE in a timely manner[.]”

                  D.      CFB also will obtain from current or former employees other than

   ZHANG an express written assignment to CFB of all of the respective assignee’s right, title and

   interest to the ASSIGNED ASSETS, if any, which rights CFB hereby assigns, or will assign, as

   the case may be, to BONUMOSE

                  E.      CFB represents and warrants that it has title and ownership interest in the

   ASSIGNED ASSETS; and CFB and ZHANG represent and warrant that they are not aware of

   any third party rights in the ASSIGNED ASSETS, will defend BONUMOSE’s rights thereto,

   and will indemnify BONUMOSE against any third-party claims upon or regarding the

   ASSIGNED ASSETS that CFB or ZHANG knew or should have known.

                  F.      CFB also will obtain from current or former employees other than

   ZHANG an express written assignment to CFB of all of the respective assignee’s right, title and

   interest to the ASSIGNED ASSETS, if any, which rights CFB hereby assigns, or will assign, as

   the case may be, to BONUMOSE.




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                  G.      For purposes of the ASSIGNED ASSETS, the ASSIGNMENT expressly

   includes the right of BONUMOSE to enforce the terms of any Business Protection Agreements

   between CFB and ZHANG, or between CFB and other employees.

          71.     The Bonumose Entities has taken and continues to take appropriate steps to

   protect the Tagatose Trade Secrets and confidential information it acquired from CFB.

          72.     Since signing the April 2016 Agreement, Bonumose Biochem independently

   developed additional trade secrets and confidential information relating to the Tagatose

   Invention.

          73.     The Bonumose Entities have invested considerable time and resources in

   commercializing the production methods and other findings relating to the Tagatose Invention.

          74.     Given the need and demand for low-cost Tagatose, the Tagatose Trade Secrets are

   extremely valuable.

          75.     After the signing of the April 2016 Agreement, Zhang was employed by the

   Tianjin Institute, while also maintaining his full professorship position at Virginia Tech and

   operating several federal grant projects. Zhang has a Tianjin Institute email address, and in some

   academic papers identifies his sole professional affiliation as being Tianjin Institute.

          76.     In violation of the obligations under the April 2016 Agreement, Zhang and CFB

   refused to have former CFB employees, including but not limited to former employee Chun You,

   execute the required assignment express written assignment to CFB of all of respective

   assignee’s right, title and interest to the ASSIGNED ASSETS if any, which rights CFB was

   required to assigns to the Bonumose Entities.

          77.     In violation of obligations under the April 2016 Agreement, CFB failed to provide

   the Bonumose Entities the required Business Protection Agreements for all former employees,

   including, but not limited to the Business Protection Agreement for Chun You. CFB has




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   prevented the Bonumose Entities from enforcing the Business Protection Agreement against

   Chun You.

          78.     In violation of the obligations under the April 2016 Agreement, Zhang’s Business

   Protection Agreement, and duties under statute and common law, and during a time in which the

   Provisional Patent Application remained unpublished, Zhang and CFB wrongfully provided the

   Tagatose Trade Secrets to the Tianjin Institute.

          79.     Subsequent to the April 2016 Agreement, CFB maintained the Tagatose Trade

   Secrets in tangible form, including, but not limited to hard paper copies of the Provisional Patent

   Application and drafts of the Provisional Patent Application and electronic copies of the

   Provisional Patent Application and drafts of the Provisional Patent Application and electronic

   copies emails from Dr. Wichelecki or others CFB employees containing the substance of the

   Tagatose Trade Secrets.

          80.     The circumstances indicate and on information and belief, Zhang and CFB

   received compensation or benefits from the Tianjin Institute in exchange for their wrongful

   disclosure of the Tagatose Trade Secrets.

          81.     On information and belief, to effectuate the wrongful transfer of the Tagatose

   Trade Secrets, Zhang and CFB provided the hard copy of the Provisional Patent Application,

   drafts of the Provisional Patent Application, electronic copies of the Provisional Patent

   Application or drafts of that document, or electronic copies of emails from Dr. Wichelecki or

   other CFB employees containing the substance of the Tagatose Trade Secrets to the Tianjin

   Institute or to other third-parties operating on the Tianjin Institutes’ behalf. By wrongfully

   providing the Tagatose Trade Secrets in tangible form to others, Zhang and CFB cause

   significant damage to the Bonumose Entities.

          82.     In violation of obligations under the April 2016 Agreement, CFB has cooperated

   and assisted third-party competitors of the Bonumose Entities, including but not limited to the




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   Tianjin Institute and Virginia Tech Intellectual Properties (“VTIP”). CFB has coordinated with

   and cooperated with the Tianjin Institute in mounting legal defenses against the Bonumose

   Entities’ pursuit of its legal rights. On information and belief, the cooperation and assistance

   with the Tianjin Institute includes but is not limited to attorneys for CFB coordinating with

   agents for the Tianjin Institute to attack or challenge in legal proceedings, the coordination and

   sharing of information between attorneys for the Tianjin Institute, CFB, and Zhang. Further, on

   information and belief, Zhang and CFB are coordinating to with the Tianjin Institute of obtain

   funding for Zhang and CFB’s litigation in this Court. Contrary to legal obligations, Zhang and

   CFB through their legal counsel have filed pleadings and made public statements which

   disparage or call into question the value of the ASSIGNED ASSETS acquired by the Bonumose

   Entities in the April 2016 Agreement.

          83.     In September of 2016 Bonumose Biochem filed a Patent Cooperation Treaty

   patent application (“PCT Application”).

          84.     The Bonumose Biochem PCT Application covered the Tagatose Trade Secrets

   and listed China as one of the covered countries. In accordance with proper procedures, the

   Bonumose Biochem PCT Application was not immediately published; the information regarding

   the Tagatose Trade Secrets remained confidential despite the filing of the PCT Application.

          85.     In late October of 2016, Zhang and Zhiguag Zhu attended a conference in Tianjin

   and met with peers at the Tianjin Institute.

          86.     On November 1, 2016, Tianjin Institute filed a patent application for Tagatose

   production (“Tianjin Patent Application”) that is nearly identical to Bonumose Biochem’ s

   Provisional Patent Application. At the time of the filing of the Tianjin Patent Application, Zhang

   and former CFB employees Zhiguang Zhu and Chun You all were employed by the Tianjin

   Institute and had received significant funds for and support from the Tianjin Institute for the




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   filing patents in China based on what appears to be intellectual property developed at CFB or

   using Virginia Tech, potentially based on funding received from federal grants.

           87.       Based on the timing and circumstances of Zhang’s travel to Tianjin, the

   Bonumose Entities infer that Zhang on behalf of CFB meet with the Tianjin Institute and

   participated and assisted with the filing of the Tianjin Patent Application.

           88.    The Tianjin Patent Application lists two inventors by name, one of which is Dr.

   Yan-he Ma, the President of the Tianjin Institute, and a researcher collaborator of Zhang’s. The

   Tianjin Patent Application also contains an unusual statement that “other inventors request an

   unlisted name.”

           89.    On information and belief, Dr. Zhang is one the anonymous co-inventors for the

   Tianjin Patent Application.

           90.    On information and belief, Chun You is one of the anonymous co-inventors for

   the Tianjin Patent Application.

           91.    Under Chinese law, it is improper to list someone as a co-inventor unless they

   have made creative contributions to the substantive features of the invention. In turn, although

   he seeks to cover up his role by hiding his name from the face of the Chinese application, Zhang,

   by having himself listed as an anonymous co-inventor, is asserting a substantive role in the

   Tianjin Patent Application. As an anonymous co-inventor identified in the Tianjin Application,

   Zhang has breached contractual, statutory, and common law duties owed to the Bonumose

   Entities.

           92.    The Tianjin Patent Application was prepared using the Bonumose Entities’

   Tagatose Trade Secrets. The Tianjin Patent Application could not have been written without

   Tianjin Institute having the confidential, unpublished Provisional Patent Application or Tagatose

   Trade Secrets, the confidential or trade secret information underlying the Tagatose Invention.

   Given the nature of the confidential information, the Provisional Patent Application or drafts or




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   the Tagatose Trade Secrets were wrongfully provided to the Tianjin Institute in tangible form,

   either a hard copy or an electronic copy.

          93.       The Tianjin Patent Application included the same enzymatic pathway for

   Tagatose production invented by Dr. Wichelecki and found in the Provisional Patent

   Application, using the same enzymes. The drawings in the Tianjin Patent Application are nearly

   identical to the drawings in the Provisional Patent Application. The two key enzymes named in

   the Tianjin Patent Application are the exact same enzymes Dr. Wichelecki had discovered. In

   fact, Bonumose Biochem’s Provisional Patent Application contained an error, which Bonumose

   Biochem later corrected. The Tianjin Patent Application replicates the error, clearly marking the

   Tianjin Patent Application as a copycat effort based on the confidential information disclosed by

   Defendants. The Tianjin Patent Application does not provide any significant, new information

   not contained in Bonumose Biochem’s Provisional Patent Application.

          94.       Zhang and CFB wrongly concealed their misappropriation, the wrongful

   disclosure to the Tianjin Institute, and the Tianjin Patent Application from Bonumose Biochem.

   If Zhang or CFB had disclosed that the information had been provided to the Tianjin Institute,

   Bonumose could have accelerated its time table to file a patent application in China. Because the

   wrongful disclosure was concealed, Bonumose Biochem took no action to file in China while the

   Provisional Patent Application and Bonumose Biochem’s PCT application remained

   confidential.

          95.       On or about April 6, 2017, the Bonumose Biochem PCT Application was

   published. The publication of the PCT application in April of 2017 marked the first time the

   Tagatose Trade Secrets were publicly disclosed with Bonumose Biochem’s knowledge and

   authorization.

          96.       On or around April 13, 2017, Bonumose Biochem learned of the Tianjin Patent

   Application from a company that was a potential business partner of the Bonumose Entities.




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           97.     Although the information contained in Bonumose Biochem’s U.S. tagatose patent

   application is now public owing to publication of the PCT Application in April of 2017, the

   Bonumose Entities were damaged by the prior disclosure and use of the Tagatose Trade Secrets

   while that information was confidential. The wrongful disclosure of the Tagatose Trade Secrets

   gave the Tianjin Institute several months of advanced knowledge of confidential information,

   including, but not limited to, the enzymatic pathway discovered by Dr. Wichelecki.

           98.     The Bonumose Entities will suffer immediate and irreparable harm if Zhang and

   CFB are not enjoined from further use of the Tagatose Trade Secrets, further breaches of their

   non-disclosure obligations, further breaches of their non-competition obligation, and further

   breaches of their obligations to cease communications.

           99.     The Bonumose Entities will suffer immediate and irreparable harm if Zhang and

   CFB are not enjoined from competing with the Bonumose Entities in violation of the April 2016

   Agreement, cooperating with third parties seeking to compete with the Bonumose Entities.

           100.    Legal remedies would be inadequate because without an injunction, Defendants

   and third-party Defendants could unlawfully compete in the market, producing Tagatose in

   contravention of the Bonumose Entities’ patent and trade secret rights.

           101.    Zhang and CFB have caused, and will continue to cause, damages to the

   Bonumose Entities’ business, business relationships, goodwill, and reputation.

                                            COUNT ONE
                                        BREACH OF CONTRACT
                                          (Zhang and CFB)
           102.    The Bonumose Entities repeat and reallege the allegations set forth above as if

   fully stated herein.

           103.    Under the April 2016 Agreement, Zhang and CFB assigned and transferred all

   right, title and interest to a broad category of identified assets which included the Tagatose Trade

   Secrets and confidential information related to the Tagatose Invention.




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          104.    Under the April 2016 Agreement, Zhang and CFB agreed not to compete against

   Bonumose with respect to the commercialization of Tagatose based on the Tagatose Trade

   Secrets. For clarification but not limitation, CFB and Zhang agreed they would not compete

   against or assist others in competing against Bonumose Biochem, or its successors, assigns or

   licensees, in the production of Tagatose from starch, sucrose, cellulose, or degradation products

   thereof.

          105.    The April 2016 Agreement requires Zhang and CFB not to disclose to anyone any

   confidential information, trade secrets, or other IP Rights about the Tagatose Trade Secrets,

   including any disclosures in an academic setting or any disclosures in scientific or other journals

   or other publications.

          106.    The April 2016 Agreement requires that Zhang and CFB defend Bonumose

   Biochem’s rights to the trade secrets and confidential information, including the Tagatose Trade

   Secrets.

          107.    The April 2016 Agreement requires that Zhang and CFB shall immediately cease

   communications with third parties regarding the Tagatose Trade Secrets.

          108.    In exchange for these and other promises in the April 2016 Agreement,

   Bonumose Biochem issued to CFB common membership units in Bonumose Biochem and

   provided other valuable consideration.

          109.    CFB had certain, limited reversions rights under the April 2016 Agreement

   subject to Zhang and CFB not being in breach.

          110.    Zhang and CFB breached the April 2016 Agreement by disclosing the Tagatose

   Trade Secrets to the Tianjin Institute to assist the Tianjin Institute’s efforts to compete with the

   Bonumose Entities regarding the commercialization of Tagatose.

          111.    Zhang and CFB breached the April 2016 Agreement by disclosing confidential

   information, including the Tagatose Trade Secrets, to the Tianjin Institute.




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             112.   Zhang and CFB breached the April 2016 Agreement by failing to cease

   communications with third parties, including the Tianjin Institute, regarding the Tagatose Trade

   Secrets

             113.   Zhang and CFB breached the April 2016 Agreement by cooperating with third-

   parties in competition with the Bonumose Entities, including but not limited to, cooperating with

   the Tianjin Institute in defense of legal proceedings in this Court and in the PRC and in receiving

   financial support from the Tianjin Institute in defense of the litigation in this Court.

             114.   Zhang and CFB breached the April 2016 Agreement by cooperating with third-

   parties in competition with the Bonumose Entities, including but not limited to, cooperating with

   the VTIP and advising VTIP on licensing negotiations with Bonumose Biochem.

             115.   Zhang and CFB failed to indemnify relating to the Tianjin Patent Application,

   breaching the April 2016 Agreement.

             116.   Zhang and CFB breached by failing to obtain the necessary assignments from

   former CFB employees.

             117.   Zhang and CFB breached the April 2016 Agreement by making warranties the

   know were false.

             118.   The April 2016 Agreement contains an implied covenant of good faith and fair

   dealing.

             119.   Zhang and CFB are in breach of the express terms of the April 2016 Agreement.

             120.   Zhang and CFB are in breach of the implied covenant of good faith and fair

   dealing in the April 2016 Agreement.

             121.   The Bonumose Entities have complied with all of its obligations under the April

   2016 Agreement.

             122.   Owing to its breaches, CFB does not have reversionary rights.




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           123.    Because of the breaches by Zhang and CFB, the Bonumose Entities have been

   damaged, and its ongoing efforts to commercialize its technology and its business prospects have

   diminished.

           124.    The Bonumose Entities have been injured in an amount in excess of any

   applicable jurisdictional amount, an amount to be proven at trial.

           125.    The Bonumose Entities are entitled to an injunction enjoining Zhang and CFB

   from further use of the Tagatose Trade Secrets or other confidential information, and from

   further acts related to the Tagatose Invention.

                                           COUNT TWO
                                MISAPPROPRIATION OF TRADE SECRETS
                          VIRGINIA UNIFORM TRADE SECRETS ACT (“VUTSA”)
                                 VA. CODE ANN. § 59.1-336 – 59.1-343
                                         (Zhang and CFB)
           126.    The Bonumose Entities repeat and realign the allegations set forth above as if

   fully stated herein.

           127.    The Bonumose Entities are persons within the meaning of Va. Code Ann. § 59.1-

   336 and is entitled to bring this action under VUTSA.

           128.    The Tagatose Trade Secrets are trade secrets within the meaning of Va. Code

   Ann. § 59.1-336.

           129.    The Tagatose Trade Secrets required substantial time, effort, and expense to

   develop.

           130.    The Tagatose Trade Secrets were sufficiently secret to derive economic value,

   actual or potential, from not being generally known to other persons who can obtain economic

   value from their disclosure or use. During the time of the wrongful conduct, this information

   was not readily available from any one public source and would not be readily ascertainable

   through proper means by those outside of Bonumose.




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           131.    Reasonable efforts have been made to maintain the secrecy and confidentiality of

   the trade secrets.

           132.    Zhang and CFB have misappropriated the Tagatose Trade Secrets by disclosing

   and/or using the trade secrets without Bonumose Biochem’s express or implied consent.

   Disclosure and/or use of the trade secrets are expressly prohibited under the April 2016

   Agreement, to which Zhang and CFB are parties. At the time of the disclosure and/or use of the

   trade secrets, Zhang and CFB knew or had reason to know that they owed a duty to Bonumose

   Biochem to maintain secrecy or limit the use of the trade secrets.

           133.    Upon information and belief, Zhang and CFB intended to cause Bonumose

   Biochem actual or constructive harm through their acquisition of the Tagatose Trade Secrets

   through improper means. Zhang’s and CFB’s conduct constitutes willful and malicious conduct

   under the VUTSA.

           134.    Zhang’s and CFB’s misappropriation of the Tagatose Trade Secrets has caused,

   and will continue to cause, irreparable harm and damages to Bonumose Biochem’s business,

   business relationships, goodwill, and reputation. Bonumose Biochem may recover the damages

   arising out of Zhang’s and CFB’s misconduct. Bonumose Biochem may also recover punitive

   damages. Bonumose Biochem has been damaged in an amount to be proven at trial.

           135.    The Bonumose Entities are entitled to an injunction enjoining Zhang and CFB

   from further use of the Tagatose Trade Secrets or other confidential information related to the

   Tagatose Invention.

           136.    In addition, the Bonumose Entities have expended, and will continue to expend

   attorneys’ fees and costs to remedy the misappropriation of trade secrets, which are recoverable

   under the VUTSA.




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                                          COUNT THREE
                               MISAPPROPRIATION OF TRADE SECRETS
                                   DEFEND TRADE SECRETS ACT
                                     18 U.S.C. §§ 1831 – 1839
                                        (Zhang and CFB)
           137.    The Bonumose Entities repeat and realign the allegations set forth above as if

   fully stated herein.

           138.    The Tagatose Trade Secrets are trade secrets within the meaning of 18 U.S.C. §

   1839.

           139.    The Tagatose Trade Secrets are related to a product intended for use in interstate

   or foreign commerce.

           140.    The Tagatose Trade Secrets required substantial time, effort, and expense to

   develop.

           141.    The Tagatose Trade Secrets were sufficiently secret to derive economic value,

   actual or potential, from not being generally known to other persons who can obtain economic

   value from their disclosure or use. During the time of the wrongful conduct, this information

   was not readily available from any one public source, and would not be readily ascertainable

   through proper means by those outside of Bonumose Biochem.

           142.    Reasonable efforts have been made to maintain the secrecy and confidentiality of

   the trade secrets.

           143.    CFB and Zhang have misappropriated the Tagatose Trade Secrets by:

                   a.     Disclosing and/or using the trade secrets without Bonumose Biochem’s

   express or implied consent. Disclosure and/or use of the trade secrets are expressly prohibited

   under the April 2016 Agreement, to which CFB and Zhang are parties. At the time of the

   disclosure and/or use of the trade secrets, CFB and Zhang knew or had reason to know that they
   owed a duty to Bonumose Biochem to maintain secrecy or limit the use of the trade secrets.

                   b.     Copying, downloading, uploading, replicating, transmitting,

   communicating, conveying, receiving, buying, and/or possessing Bonumose Biochem’s trade


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   secrets. At the time of such conduct, CFB and Zhang intended or knew that their conduct would

   benefit the Chinese government, an instrumentality of the Chinese government, and/or an agent

   of the Chinese government.

                      c.      Conspiring with each other and third parties to engage in the conduct

   described in subsections (a) and (b). At the time of such conspiracy, CFB and Zhang intended or

   knew that its conduct would benefit the Chinese government, an instrumentality of the Chinese

   government, and/or an agent of the Chinese government.

           144.       Zhang’s and CFB’s misappropriation of Bonumose Biochem’s trade secrets has

   caused, and will continue to cause, irreparable harm and damages to Bonumose Biochem’s

   business, business relationships, goodwill, and reputation. The Bonumose Entities may recover

   the damages arising from Zhang’s and CFB’s misconduct. The Bonumose Entities may also

   recover exemplary damages. The Bonumose Entities have been damaged in an amount to be

   proven at trial.

           145.       Zhang and CFB willfully and maliciously misappropriated the Bonumose

   Entities’ trade secrets.

           146.       The Bonumose Entities are entitled to an injunction enjoining Zhang and CFB

   from further use of the Tagatose Trade Secrets or other confidential information related to the

   Tagatose Invention.

           147.       In addition, the Bonumose Entities have expended, and will continue to expend

   attorneys’ fees and costs to remedy the misappropriation of trade secrets, which are recoverable

   under 18 U.S.C. § 1836.

                                                COUNT FOUR
                                                CONVERSION
                                              (Zhang and CFB)
           148.       The Bonumose Entities repeat and reallege the allegations set forth above as if

   fully stated herein.




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          149.    Bonumose Biochem owned (and owns) the hard copies of the Provisional Patent

   Application and drafts and the electronic copies of the Provisional Patent Application and drafts

   and the correspondence relating to the Tagatose Invention which required for the production of

   Tagatose.

          150.    At the time Bonumose Biochem owned this information, Zhang and CFB acted

   inconsistent with Bonumose Biochem’s rights. Zhang and CFB wrongfully exercised dominion

   or control over hard copies and electronically stored copies of the Provisional Patent Application,

   draft of the Provisional Patent Application, electronic copies of emails and other

   communications related to the Tagatose Invention which reveal the Tagatose Trade Secrets,

   inconsistent with Bonumose Biochem’s rights.

          151.    Zhang and CFB wrongfully provided the tangible goods containing the Tagatose

   Trade Secrets to Tianjin.

          152.    Owing to Zhang and CFB wrongful conversion of Bonumose Biochem’s

   property, the Tianjin Institute filed its Tianjin Patent Application.

          153.    The wrongful conversion by Zhang and CFB proximately harmed Bonumose

   Biochem by causing the Tianjin Patent Application to be filed which has caused the Bonumose

   Entities to incur costs to address the filing and has delayed and increased the cost of the

   Bonumose Entities’ commercialization of Tagatose.

          154.    Zhang and CFB acted with willful or wanton disregard for the Bonumose Entities’

   rights. Such conduct was malicious and warrants an award of punitive damages.

          155.    The conduct of Zhang and CFB caused and will continue to cause irreparable

   harm and damages to the Bonumose Entities’ business, business relationships, goodwill, and

   reputation. The Bonumose Entities have been damaged in an amount to be proven at trial.




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            156.   The Bonumose Entities are entitled to an injunction enjoining Zhang and CFB

   from further use of the tangible property containing the Tagatose Trade Secrets or other

   confidential information related to the Tagatose Invention.


                                             COUNT FIVE
                                         BREACH OF CONTRACT
                                              (Zhang)
            157.   The Bonumose Entities repeat and reallege the allegations set forth above as if

   fully stated herein.

            158.   Zhang breached his obligations to CFB under the CFB Business Protection

   Agreement, including but not limited to, his obligations to not to compete with CFB and not to

   disclose confidential CFB information.

            159.   The April 2016 Agreement expressly gave Bonumose Biochem the right to

   enforce CFB’s rights under the Business Protection Agreement in the event of breaches by

   Zhang.

            160.   Because of the breaches by Zhang, the Bonumose Entities have been damaged.

            161.   The Bonumose Entities have been injured in an amount in excess of any

   applicable jurisdictional amount, an amount to be proven at trial.

                                             COUNT SIX
                              FRAUD IN THE INDUCEMENT-CONCEALMENT
                                            (Zhang and CFB)
            162.   The Bonumose Entities repeat and reallege the allegations set forth above as if

   fully stated herein.

            163.   Zhang and CFB concealed material facts, including but not limited to:

                   A.     the fact that Zhang had been acting concurrently acting as an unregistered

   agent for the Tianjin Institute since at least 2014;

                   B.     the fact that Zhang and CFB had no intent to live up to their obligations

   under the April 2016 Agreement;


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                   C.     in the alternative, the fact that Zhang and CFB had disclosed the Tagatose

   Trade Secrets to the Tianjin Institute prior to the signing of the April 2016 Agreement .

           164.    Zhang and CFB had a duty to disclose the concealed facts.

           165.    Bonumose Biochem relied on the wrongful concealment.

           166.    Bonumose Biochem was wrongly induced to enter into the April 2016 Agreement

   owing to the concealment.

           167.    Zhang and CFB acted with willful or wanton disregard for Bonumose Biochem’s

   rights. Such conduct was malicious and warrants an award of punitive damages.

           168.    Exclusive of the punitive damages, the Bonumose Entities have been injured in an

   amount in excess of any applicable jurisdictional amount, an amount to be proven at trial.

                                          COUNT SEVEN
                                    FRAUDULENT - CONCEALMENT
                                           (Zhang and CFB)
           169.    The Bonumose Entities repeat and reallege the allegations set forth above as if

   fully stated herein.

           170.    Zhang and CFB concealed material facts, including but not limited the fact that

   subsequent to the signing of the April 16, 2016 Agreement, Zhang and CFB provided the

   Tagatose Trade Secrets to the Tianjin Institute.

           171.    Zhang and CFB had a duty to disclose the concealed facts.

           172.    The Bonumose Entities relied on the wrongful concealment, including but not

   limited to, making payments to Zhang and CFB under the April 2016 Agreement which should

   not have been paid owing to Zhang and CFB’s breaches and wrongful conduct.

           173.    The Bonumose Entities suffered damages as a result of the concealment.

           174.    Zhang and CFB acted with willful or wanton disregard for the Bonumose

   Entities’ rights. Such conduct was malicious and warrants an award of punitive damages




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          175.    Exclusive of the punitive damages, the Bonumose Entities have been injured in an

   amount in excess of any applicable jurisdictional amount, an amount to be proven at trial.

                                       PRAYER FOR RELIEF

          WHEREFORE, plaintiff requests entry of judgment in its favor and against Defendants

   as follows:

          A.      An award of damages to the Bonumose Entities, including but not limited to

   compensatory damages, punitive damages, and/or exemplary damages;

          B.      An award of pre-judgment interest and post-judgment interest on the damages

   awarded;

          C.      Issuance of preliminary and permanent injunctions enjoining Zhang and CFB

   from further use of the Tagatose Trade Secrets or other confidential information related to the

   Tagatose Invention;

          D.      A declaration that (1) Zhang and CFB breached their obligations under the April

   2016 Agreement not later than November 1, 2016, and (2) the Bonumose Entities owes no

   further duties to CFB, including, but not limited to, obligations to make further payments to

   CFB.

          E.      Such other and further relief as the Court deems just.

          Plaintiff demands trial by jury.

          Dated this _____day of August, 2018.


                                             /s/ Erik F. Stidham
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                                  CERTIFICATE OF SERVICE
           I hereby certify that on this _____ day of August, 2018, I electronically filed the
   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
   such filing to the following:

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